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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

   THE VARIABLE ANNUITY LIFE
   INSURANCE COMPANY (VALIC),

               Plaintiff,

   v.                                   Case No. 8:12-cv-2280-T-33MAP

   FAWN LAENG,

             Defendant.
   _______________________________/

                                      ORDER

          This cause comes before the Court in consideration of

   Plaintiff       VALIC’s   Motion    in     Limine.       (Doc.   #   50).

   Defendant Fawn Laeng filed a response in opposition to the

   Motion on July 26, 2013.            (Doc. # 51).        For the reasons

   that follow, the Motion is denied.

   I.     Background

          VALIC is a Texas corporation that markets financial

   services to tax exempt organizations.                (Doc. # 1 at ¶¶ 1,

   8).     Laeng is a former employee of VALIC.              (Id. at ¶ 2).

   As a condition of employment with VALIC, Laeng was required

   to    execute    a   “Registered    Representative      Agreement”   with

   VALIC Financial Advisors.          (Id. at ¶ 25).       Pursuant to the

   Agreement, “[i]n consideration of [Laeng’s] access to VALIC

   trade    secrets,     proprietary    and    confidential    information
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   such as the customer base developed by VALIC and the other

   benefits       and    opportunities      provided      to    her   by   VALIC,

   [Laeng] promised that she would not disclose trade secrets

   [or confidential and proprietary information] during the

   term     of     the     agreement   or     at    any        time   after    its

   termination.”         (Id. at ¶¶ 28-29).

          Additionally,       Laeng    “agreed      to     a    non-solicitation

   provision, promising for one year after leaving employment

   not    to     solicit   business    from   VALIC       customers    who    were

   within [Laeng’s] assigned territories and assigned to her

   during the one year preceding her departure[.]”                     (Id. at ¶

   31).     Importantly, this provision does not prohibit Laeng

   from competing with VALIC upon departure; VALIC describes

   the non-solicitation provision as “very reasonable” in that

   it permits Laeng “to work for a VALIC competitor [and sell]

   competing products in the same region she worked before her

   resignation.”         (Doc. # 5 at 2).

          Laeng left VALIC on July 11, 2012, and began working

   at LPL Financial, one of VALIC’s local competitors, the

   next day.       (Doc. # 1 at ¶ 2).         VALIC alleges that Laeng is

   “soliciting and attempting to solicit VALIC’s clients, and

   otherwise improperly competing against VALIC in violation

   of     the    restrictive     covenants     in        [Laeng’s]    employment


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   agreement.”         (Id.).      VALIC       further     claims      that     Laeng’s

   actions    “have     resulted    in     more        than    $629,113.32           being

   removed from the VALIC accounts of her former clients and

   moved to accounts brokered by LPL Financial . . . .”                               (Id.

   at ¶ 6).

         On   October      5,    2012,         VALIC      filed     the       operative

   Complaint against Laeng, alleging five causes of action:

   (1)     Misappropriation         of     VALIC          Trade        Secrets         and

   Confidential    and     Proprietary         Information;         (2)      Breach     of

   Contract; (3) Intentional Interference with Existing and

   Prospective    Business       Relations;         (4)       Breach    of     Duty    of

   Loyalty; and (5) Unjust Enrichment.                  (Doc. # 1).

         Also on October 5, 2012, VALIC filed a Motion for

   Preliminary Injunction, alleging that Laeng was “actively

   soliciting    her    former     VALIC       customers       to   transfer         their

   accounts     away    from     VALIC”        in   violation          of     her    non-

   solicitation agreement.          (Doc. # 5).           Among other requests,

   VALIC’s    Motion      for    Preliminary           Injunction           sought     the

   Court’s issuance of an order enjoining Laeng from “directly

   or    indirectly      disseminating           VALIC’s        confidential           and

   proprietary    information       [and        trade     secrets],”          and     also

   prohibiting Laeng from “attempting to induce any Protected




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   Customer to end or alter his or [her] relationship with

   VALIC . . . for a period of one year[.]”                      (Id. at 15-16).

          This       Court        referred      the     Motion    for       Preliminary

   Injunction to Judge Pizzo for the issuance of a Report and

   Recommendation.           (Doc. # 7).            Judge Pizzo held a hearing on

   the Motion for Preliminary Injunction on November 16, 2012.

   (Doc.   #     24).        On    January     2,     2013,   after    examining    the

   evidence against the touchstone of Rule 65 of the Federal

   Rules of Civil Procedure, Judge Pizzo entered a detailed

   Report and Recommendation (Doc. # 28), finding that the

   Motion for Preliminary Injunction should be denied.                              On

   February 11, 2013, this Court entered an Order accepting

   and adopting Judge Pizzo’s Report and Recommendation to the

   extent it found that VALIC had failed to demonstrate a

   substantial likelihood of success on the merits.                            (Doc. #

   37).

          On March 20, 2013, Laeng filed a counterclaim, with

   leave of Court, in which Laeng accuses VALIC of (1) Sex

   Discrimination and Harassment under Title VII; (2) Title

   VII    Retaliation;            (3)   Sex    Discrimination         and    Harassment

   under the Florida Civil Rights Act of 1992; (4) Retaliation

   under       the      FCRA;       and       (5)     Negligent       Retention     and

   Supervision.         (Doc. # 42).


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         In accordance with the Case Management and Scheduling

   Order    (Doc.     #    27),    entered        on    December      19,   2012,    the

   deadline for dispositive motions in this case was scheduled

   for   June   14,       2013.        The   discovery         deadline,     initially

   scheduled for May 10, 2013, was subsequently extended by

   separate Order to August 30, 2013, in response to a joint

   motion for extension by the parties, in which the parties

   acknowledged and agreed that “any discovery conducted after

   the   dispositive        motions     date      will    not    be    available     for

   summary judgment purposes.”               (Doc. # 44 at 2-3).

         Neither party filed a motion for summary judgment on

   or before the deadline imposed by the Case Management and

   Scheduling    Order.           On    July      12,    2013,    VALIC     filed    the

   instant Motion in Limine.                   (Doc. # 50).           Laeng filed a

   response in opposition to the Motion on July 26, 2013.

   (Doc. # 51).           The Court has carefully reviewed the Motion,

   the     response,       and    is    otherwise        fully     advised    in     the

   premises.

   II.   Legal Standard

         “A   motion       in    limine      presents      a    pretrial     issue    of

   admissibility of evidence that is likely to arise at trial,

   and as such, the order, like any other interlocutory order,

   remains subject to reconsideration by the court throughout


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   the trial.”          In re Seroquel Prods. Liability Litigation,

   Nos. 6:06-md-1769-Orl-22DAB, 6:07-cv-15733-Orl-22DAB, 2009

   WL 260989, at *1 (M.D. Fla. Feb. 4, 2009).                             “The real

   purpose of a motion in limine is to give the trial judge

   notice       of    the     movant’s    position      so    as    to    avoid    the

   introduction of damaging evidence which may irretrievably

   [a]ffect the fairness of the trial.                    A court has the power

   to exclude evidence in limine only when evidence is clearly

   inadmissible        on     all   potential      grounds.”        Id.    (internal

   quotation omitted).

          A    motion       in   limine    is    not   the    proper     vehicle   to

   resolve substantive issues, to test issues of law, or to

   address or narrow the issues to be tried.                       See LSQ Funding

   Grp. v. EDS Field Servs., 879 F. Supp. 2d 1320, 1337 (M.D.

   Fla. 2012) (citing Royal Indem. Co. v. Liberty Mut. Fire

   Ins. Co., No. 07-80172-CIV, 2008 WL 2323900, at *1 (S.D.

   Fla. June 5, 2008)).

          The district court has broad discretion to determine

   the admissibility of evidence, and the appellate court will

   not disturb this Court’s judgment absent a clear abuse of

   discretion.         United States v. McLean, 138 F.3d 1398, 1403

   (11th Cir. 1998); see also United States v. Jernigan, 341

   F.3d       1273,    1285      (11th    Cir.    2003)      (“Inherent    in     this


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   standard is the firm recognition that there are difficult

   evidentiary rulings that turn on matters uniquely within

   the purview of the district court, which has first-hand

   access to documentary evidence and is physically proximate

   to testifying witnesses and the jury.”).

   III. Analysis

          A.     Standing and Material Breach

          VALIC argues that “the Court should preclude Defendant

   from presenting evidence or otherwise eliciting testimony

   that    VALIC      is    not     a    third       party        beneficiary       to    the

   [Registered        Representative               Agreement]        or      that        VALIC

   otherwise lacks standing to enforce the Agreement.”                                   (Doc.

   # 50 at 3).         Additionally, VALIC argues that “Laeng should

   be precluded from arguing that her allegations of sexual

   harassment        constitute         or   potentially          constitute    a        prior

   material breach of the [Agreement],” because “[n]o Florida

   court       has   held    that       allegations          of     sexual    harassment

   constitute a material breach of the contract sufficient to

   negate a contract’s restrictive covenants.”                         (Id. at 4-5).

          The Court finds VALIC’s arguments regarding standing

   and breach to be nothing more than disguised bases for a

   summary judgment motion, which is improper at this juncture




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   of the proceedings.1               The Case Management and Scheduling

   Order in this case imposed a dispositive motions deadline

   of June 14, 2013.                (Doc. # 27).       Neither party opted to

   file   a     motion        for   summary       judgment   on    or    before    the

   deadline, and the Court is not inclined to entertain a

   motion in limine seeking resolution of arguments suitably

   raised      in    a   summary     judgment      motion.        Accordingly,      the

   Motion in Limine is denied as to the issues of standing and

   material breach.

          B.        FINRA

          VALIC       “anticipates         Defendant     Laeng      will   seek      to

   introduce evidence regarding [Financial Industry Regulatory

   Authority, Inc.] rules and regulations, including without

   limitation (a) that the Registered Representative Agreement

   violates FINRA regulations and is therefore illegal; (b)

   that Defendant’s conduct does not violate FINRA rules or

   regulations;          or   (c)   that    VALIC’s    conduct      violates      FINRA

   rules or regulations.”               (Doc. # 50 at 2).               VALIC argues
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     Notably, VALIC does not cite a single Federal Rule of
   Evidence to support its argument that evidence relating to
   the issues of standing and material breach should be
   excluded as inadmissible at trial, and, with the exception
   of the FINRA Rules discussed herein, VALIC neglects to
   describe any particular items of evidence VALIC seeks to
   exclude. It is thus apparent to the Court that the relief
   VALIC seeks in this Motion exceeds the proper scope of a
   motion in limine.


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   that “evidence regarding FINRA rules or regulations should

   be precluded here because VALIC is not a FINRA member and

   its rules are not applicable to VALIC,” thus rendering such

   evidence “irrelevant to this case.”             (Id. at 2-3).      In

   addition    to   being   irrelevant,    VALIC    argues   that   this

   evidence would be “highly prejudicial to VALIC and will

   potentially confuse the jury by suggesting that VALIC is

   bound by rules or regulations” that are not controlling.

   (Id. at 3).

         In response to VALIC’s contention that evidence of the

   FINRA rules should be excluded, Laeng argues that VALIC’s

   Motion should be denied because:

         (1) VALIC claims third party beneficiary status
         pursuant to a contract where the named parties to
         the contract are subject to FINRA Rules; (2) at
         least one court previously held VALIC is subject
         to FINRA Rules when VALIC raised the same
         arguments; (3) VALIC fails to recognize and
         acknowledge certain clients for which VALIC seeks
         damages had accounts with both VALIC and VALIC
         Financial Advisors, Inc. (“VFA”)[;] (4) the
         Motion is premature because discovery remains
         open until August 30, 2013[;] and (5) VALIC’s
         counsel failed to confer with Laeng’s counsel
         prior to filing its Motion, as required by Local
         Rule   3.01(g)  and   the  Case   Management  and
         Scheduling Order.

   (Doc. # 51 at 1-2).

         Because the relevance -- and thus the admissibility --

   of the FINRA rules appears to be related to the issue of


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    VALIC’s standing as a purported third party beneficiary to

    the subject Agreement, the Court declines to determine the

    admissibility of those rules at this time.                      As explained

    above, a motion in limine is not the proper vehicle to

    resolve substantive issues, to test issues of law, or to

    address or narrow the issues to be tried.

    IV.   Local Rule 3.01(g) Certification

          In    addition      to      improperly     presenting       substantive

    issues, VALIC’s Motion is defective in that it lacks the

    certification required by Local Rule 3.01(g).                         That rule

    requires a moving party to “confer with counsel for the

    opposing party in a good faith effort to resolve the issues

    raised     by   the    motion,”    and    to   “file    with    the    motion   a

    statement       (1)    certifying     that     the     moving    counsel    has

    conferred       with   opposing    counsel     and     (2)   stating    whether

    counsel agree on the resolution of the motion.”                        In light

    of this defect, combined with the problems noted above, the

    Court denies VALIC’s Motion in Limine.

          Accordingly, it is

          ORDERED, ADJUDGED, and DECREED:

     VALIC’s Motion in Limine (Doc. # 50) is DENIED.

          DONE and ORDERED in Chambers in Tampa, Florida, this

    2nd day of August, 2013.


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    Copies: All Counsel of Record




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